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  8
  9                     IN THE UNITED STATES DISTRICT COURT
 10                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
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 13
      AMERICAN SOCIETY OF JOURNALISTS         2:19-cv-10645-PSG
 14   AND AUTHORS, INC.; ET AL.,
                                              DEFENDANT’S OPPOSITION TO
 15                                           PLAINTIFFS’ APPLICATION FOR
                                              TEMPORARY RESTRAINING
 16               v.                          ORDER AND ORDER TO SHOW
                                              CAUSE WHY A PRELIMINARY
 17   XAVIER BECERRA, IN HIS OFFICIAL         INJUNCTION SHOULD NOT
      CAPACITY AS ATTORNEY GENERAL OF         ISSUE
 18   THE STATE OF CALIFORNIA.
                                              Date:           TBD
 19                                           Time:           TBD
                                              Judge:          Hon. Philip S. Gutierrez
 20                                           Trial Date:     None.
                                              Action Filed:   December 17, 2019
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  1
                                        INTRODUCTION
  2
  3        This case challenges Assembly Bill 5 (AB 5), a California law enacted on
  4   September 18, 2019, and which went into effect on January 1, 2020. AB 5 is the
  5   Legislature’s attempt to ensure that employees who are improperly misclassified as
  6   independent contractors receive the appropriate benefits guaranteed by state labor
  7   laws. Plaintiffs challenge this law on Equal Protection and First Amendment
  8   grounds.
  9        Plaintiffs waited three months to file suit against a law enacted in September
 10   2019. They waited another two weeks before seeking preliminary relief, without
 11   explaining this delay. This delay by itself warrants denying the requested
 12   temporary restraining order. More importantly, their legal claims lack merit. For
 13   these reasons, the Court should deny the Plaintiffs’ request for a temporary
 14   restraining order.
 15                                      BACKGROUND
 16        In 2018 the California Supreme Court held that courts should apply the
 17   “ABC” test to determine whether a worker is properly classified as an employee for
 18   certain purposes. Dynamex Oper. W. v. Super. Ct., 4 Cal. 5th 903, 916 (Cal. 2018).
 19   Under this test, a worker may be classified an independent contractor, rather than an
 20   employee, only if the hiring entity establishes: (a) that the worker is “free from the
 21   control and direction of the hirer in connection with the performance of the work,
 22   both under the contract for the performance of such work and in fact;” (b) that the
 23   worker “performs work that is outside the usual course of the hiring entity’s
 24   business;” and (c) that the worker is “customarily engaged in an independently
 25   established trade, occupation, or business of the same nature as the work performed
 26   for the hiring entity.” Id. at 916-17. If the hiring entity cannot satisfy all three
 27   elements, the worker is presumptively an included employee, rather than an
 28   excluded independent contractor. Id. at 964.

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  1        On September 18, 2019, the California Legislature codified the ABC test
  2   adopted in Dynamex by enacting AB 5, which became effective January 1, 2020.
  3   Cal. Lab. Code, § 2750.3, subd. (a)(1). The Legislature intended through AB 5 “to
  4   ensure workers who are currently exploited by being misclassified as independent
  5   contractors instead of recognized as employees have the basic rights and protections
  6   they deserve under the law.” Gonzales v. San Gabriel Transit, 40 Cal. App. 5th
  7   1131, 1140 n.4 (Cal. Ct. App. 2019), citation omitted.
  8        Under AB 5, the ABC test is the statutory standard for ascertaining whether a
  9   worker is an employee or an independent contractor in contexts beyond those at
 10   issue in Dynamex, including (among other things) workers’ compensation,
 11   unemployment insurance, and disability insurance. Cal. Lab. Code, § 3351(i). AB
 12   5 also provides statutory exemptions for certain categories of workers, which
 13   remain subject to the so-called Borello standard.1 Id. 2750.3(c)(1). As relevant
 14   here, AB 5 provides exemptions for “a contract for ‘professional services,’” which
 15   includes: (1) “services provided by a still photographer or photojournalist who do
 16   not license content submissions to the putative employer more than 35 times per
 17   year;” and (2) “services provided by a freelance writer, editor, or newspaper
 18   cartoonist who does not provide content submissions to the putative employer more
 19   than 35 times per year.” Id. 2750.3(c)(2)(B)(ix) & (x). The exemption provided to
 20   photographers and photojournalists does not apply “to an individual who works on
 21
 22
            1
               Under the Borello standard the key question to assess whether an individual
 23   is an employee is “whether the person to whom service is rendered has the right to
      control the manner and means of accomplishing the result desired.” S.G. Borello &
 24   Sons, Inc. v. Dep’t of Industrial Relations, 48 Cal. 3d 341, 350 (Cal. 1989). Borello
      additionally utilizes numerous secondary indicia that inform the assessment of
 25   classifying workers: (a) whether the one performing services is engaged in a
      distinct occupation or business; (b) the kind of occupation; (c) the skill required in
 26   the particular occupation; (d) whether the principal or the worker supplies the
      instrumentalities, tools, and the place of work; (e) the length of time for which
 27   services are to be performed; (f) the method of payment; (g) whether or not the
      work is a part of the regular business of the principal; and (h) whether or not the
 28   parties believe they are creating an employer-employee relationship. Id. at 351.
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  1   motion pictures, which includes, but is not limited to” projects for theatrical,
  2   television, internet, broadcast news, etc. Id. § 2750(c)(2)(B)(ix).
  3        The complaint alleges that AB 5 “limits freelancers’ ability to record, sell, or
  4   publish audio content.” (ECF No. 1 at 6 ¶ 30.) Specifically, they claim that AB 5
  5   burdens their free speech rights by limiting the exemption from the ABC test to 35
  6   submissions. (ECF No. 1 at 7 ¶ 36.) They claim that without the exemption,
  7   Plaintiffs will be classified as employees, which allegedly “brings significant new
  8   costs and disadvantages.” (Id.) This is because employee status means that
  9   employers will have to pay unemployment taxes, workers’ compensation, etc.,
 10   which will in turn “make Plaintiffs’ members’ work more costly—and thus less
 11   attractive—to the client-turned-employer.” (Id.) They also contend that the
 12   exclusion of videography from the exemption for “professional services” is
 13   unconstitutional. (Id. at 14 ¶¶ 83-85.)
 14        Plaintiffs bring free speech, free press, and equal protections claims under the
 15   First and Fourteenth Amendments to the Constitution, and seek declaratory and
 16   injunctive relief. (ECF No. 1 at 9 ¶¶ 50, 52.)
 17                                   LEGAL STANDARD
 18        “An application for a temporary restraining order involves the invocation of a
 19   drastic remedy which a court of equity ordinarily does not grant, unless a very
 20   strong showing is made of a necessity and desirability of such action.” Vaccaro v.
 21   Sparks, No. SACV 11-00164, 2011 WL 318039, at *1 (C.D. Cal. Jan. 28, 2011)
 22   (quoting Youngstown Sheet & Tube Co. v. Sawyer, 103 F. Supp. 978, 980 (D.D.C.
 23   1952)). Similar standards govern issuance of both temporary restraining orders and
 24   preliminary injunctions. Plaintiffs must demonstrate that they are likely to succeed
 25   on the merits of their claims, that they are likely to suffer irreparable harm without
 26   preliminary relief, that the balance of equities tips in their favor, and that an
 27   injunction is in the public interest. Winter v. Nat. Res. Def. Council, Inc., 555 U.S.
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   1   7, 20 (2008); Alliance for the Wild Rockies v. Cottrell, 632 F.3d 1127, 1135 (9th
   2   Cir. 2011).
   3        Delay in seeking preliminary relief “is a factor to be considered in weighing
   4   the propriety of relief.” Lydo Enters. v. City of Las Vegas, 745 F.2d 1211, 1213
   5   (9th Cir. 1984) (preliminary injunction context). Thus, delay in seeking a
   6   temporary restraining order has been found sufficient cause to deny relief. Giving
   7   Back Fund Inc. v. Miami Marketing Group LLC, No. CV 10-9705, 2011 WL
   8   13217774, at *4 (C.D. Cal. Jan. 20, 2011). The movant must also establish that “it
   9   is without fault in creating the crisis that requires ex parte relief, or that the crisis
  10   occurred as a result of excusable neglect.” Mission Power Eng’g Co. v. Continental
  11   Casualty Co., 883 F. Supp. 488, 492 (C.D. Cal. 1995); In re Intermagnetics
  12   America, Inc., 101 B.R. 191, 193 (C.D. Cal. 1989).
  13                                         ARGUMENT
  14        I.    PLAINTIFFS ARE NOT LIKELY TO SUCCEED ON THE MERITS OF
            THEIR FIRST AMENDMENT CLAIMS.
  15
  16        Plaintiffs argue that a temporary restraining order should issue because they
  17   are likely to succeed on their equal protection and First Amendment claims. This
  18   argument fails.
  19        Initially, Plaintiffs misstate the applicable legal standard, arguing that
  20   “arbitrary distinctions drawn by AB 5 between different kinds of freelancers are
  21   subject to strict scrutiny.” (ECF No. 27-1 at 15-16.) This is incorrect. Absent a
  22   suspect class, distinctions drawn in legislation are subject to rational basis review.
  23   FCC v. Beach Communications, Inc., 508 U.S. 307, 313 (1993). Plaintiffs rely on
  24   Police Department of City of Chicago v. Mosley, 408 U.S. 92 (1972), but that case
  25   involved a challenge to a local anti-picketing ordinance, directly regulating speech.
  26   See also Carey v. Brown, 447 U.S. 455 (1980) (addressing First and Fourteenth
  27   Amendment challenges to a picketing statute). By contrast, AB 5 does not directly
  28   regulate speech, and Plaintiffs do not claim otherwise. Rather, AB 5 provides
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   1   statutory exemptions from an overarching state scheme governing labor regulations.
   2   See Wagner v. Federal Election Commission, 793 F.3d 1, 33 (D.C. Cir. 2015).
   3   “Although the Court has on occasion applied strict scrutiny in examining equal
   4   protection challenges in cases involving First Amendment rights, it has done so
   5   only when a First Amendment analysis would have itself required such scrutiny.”
   6   Id. at 32. As the Court of Appeal noted in a challenge to a statute regulating
   7   campaign contributions, where “there is no doubt that the interests invoked in
   8   support of the challenged classification are legitimate, and no doubt that the
   9   classification was designed to vindicate those interests rather than disfavor a
  10   particular speaker or viewpoint, the challengers ‘can fare no better under the Equal
  11   Protection Clause than under the First Amendment itself.’” Id. (quoting City of
  12   Renton v. Playtime Theatres, Inc., 475 U.S. 41, 55 n.4 (1986)). Here, there is no
  13   doubt that the State has a legitimate interest in ensuring that employees receive all
  14   the protections under labor law. Dynamex, 4 Cal. 5th at 912-13 (describing
  15   consequences of employee status)
  16        Under rational basis, Plaintiffs are unlikely to succeed on their equal
  17   protection claim. In Allied Concrete and Supply Company v. Baker, 904 F.3d 1053
  18   (9th Cir. 2018), the plaintiffs challenged a California law that covered delivery
  19   drivers of ready-mix concrete under the state’s prevailing wage laws, and the Ninth
  20   Circuit rejected the equal protection claim. Id. at 1060. The challenged statutory
  21   classification is “presumed constitutional,” and the plaintiffs thus are required to
  22   “negative every conceivable basis which might support it.” Id. (citation omitted).
  23   Plaintiffs argue that the AB 5 statutory exemption fails even under rational basis,
  24   but provide no reasoned support for this argument other than a stray citation to
  25   Merrifield v. Lockyer, 547 F.3d 978 (9th Cir. 2008), and a request to “incorporate
  26   by reference” the arguments in their motion for a preliminary injunction. (ECF No.
  27   27-1 at 15-16.) But as the Ninth Circuit as explained, Merrifield involved a
  28   “unique set of facts,” where the challenged legislative classification “actually
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   1   contradict[ed]” the purposes of the statute, or otherwise suggested “improper
   2   favoritism.” Allied Concrete & Supply Co., 904 F.3d at 1065-66. The same is not
   3   true or alleged here.
   4        Plaintiffs’ First Amendment claims are also unlikely to succeed on the merits.
   5   The complaint alleges that AB 5’s exemption for “professional services”
   6   improperly discriminates based on the content of speech, and the medium of
   7   expression a speaker uses. (ECF No. 27-1 at 16.) “As a general rule, laws that by
   8   their terms distinguish favored speech from disfavored speech on the basis of the
   9   ideas or views expressed are content based.” Turner Broad. Sys. v. FCC, 512 U.S.
  10   512 U.S. 622, 643 (1994). On the other hand, “laws that confer benefits or impose
  11   burdens on speech without reference to the ideas or views expressed are in most
  12   instances content neutral.” Id. Usually, a regulation’s purpose or justification will
  13   be evident on its face. Id. at 642.
  14        Here, the “professional services” exemption to AB 5 does not reference an
  15   idea or viewpoint, or otherwise reflect a bias for or against any speech or viewpoint;
  16   it instead hinges on whether the individual providing the service is a still
  17   photographer, photojournalist, freelance writer, editor, or newspaper cartoonist.
  18   Cal. Lab. Code § 2750.3(c)(2)(B)(ix) & (x). Plaintiffs argue, without any support,
  19   that the “ability to freelance rises or falls based on whether expression is deemed
  20   marketing or editorial, graphic design, or photography, grant writing or news
  21   reporting.” (ECF No. 27-1 at 17-18.) These appear to be references to the statutory
  22   exemptions under AB 5 for occupations other than those covering Plaintiffs. Cal.
  23   Lab. Code § 2750.3(c)(2)(B)(i)-(vi). But Plaintiffs do not explain how these other
  24   statutory exemptions demonstrate that the exemption for freelance authors is
  25   content-based rather than the Legislature’s effort to ensure fair treatment for
  26   employees.
  27        Plaintiffs also argue that AB 5 somehow singles out “the press as a whole” for
  28   unfavorable treatment because it purportedly “den[ies] full freedom to freelance
                                                 6
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   1   only to those writers and photographers who do not fit within the content-based
   2   exemptions for fine artist, marketing, graphic design, and grant writing,” (ECF at
   3   27-1 at 18), but again fail to point to any aspect of AB 5 that predicates the
   4   statutory exemptions on the substance of a communication. Cf. Foti v. City of
   5   Menlo Park, 146 F.3d 629, 636 (9th Cir. 1998) (upholding First Amendment
   6   challenge to local regulation prohibiting signs on public property but exempting
   7   real estate, safety, traffic, and other signs); see also Desert Outdoor Advertising,
   8   Inc. v. City of Moreno Valley, 103 F.3d 814, 820 (9th Cir. 1996) (First Amendment
   9   challenge to general sign regulation exemptions based on content). As explained
  10   above, the exemptions for freelance writers and still photographers do not hinge on
  11   any aspect of the content they produce.
  12        Plaintiffs rely on Arkansas Writers Project Inc. v. Ragland, 481 U.S. 221
  13   (1987), which addressed a state law that exempted from taxation newspapers and
  14   “religious profession, trade and sports” publications. The Court concluded that this
  15   scheme impermissibly hinged on the content of the publication. Id. at 230; see also
  16   Ladd v. Law & Tech. Press, 762 F.2d 809, 815 (9th Cir. 1985) (rejecting First
  17   Amendment challenge to copyright law requirement that a publisher deposit two
  18   copies of its publication with the Library of Congress because the requirement “is
  19   not triggered by the publication of ideas”). Plaintiffs’ reliance on Harwin v. Goleta
  20   Water District, 953 F.2d 488 (9th Cir. 1991), is similarly unavailing because that
  21   case involved a discriminatory contribution limitation. Id. at 491.
  22        Lastly, Plaintiffs argue that AB 5’s exclusion of “video recording”
  23   impermissibly regulates the medium of expression. (ECF No. 27-1 at 18.) AB 5
  24   excludes from the statutory exemption “an individual who works on motion
  25   pictures, which includes, but is not limited to,” projects for theatrical, television,
  26   internet, broadcast news, etc. Cal. Lab. Code § 2750(c)(2)(B)(ix). But, as courts
  27   have pointed out, a plaintiff challenging a legislative classification “must convince
  28   the court that the legislative facts on which the classification is apparently based
                                                  7
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   1   could not reasonably be conceived to be true by the governmental decisionmaker.”
   2   Vance v. Bradley, 440 U.S. 93, 111 (1979). Although Plaintiffs contend generally
   3   that video recording is protected by the First Amendment, they do not provide any
   4   support that it is somehow accorded special treatment under case law.
   5        II.   PLAINTIFFS’ DELAY WARRANTS DENYING TEMPORARY
            RESTRAINING ORDER.
   6
   7        Plaintiffs cannot establish that a temporary restraining order is appropriate
   8   here because they unduly delayed in seeking relief, and have not explained this
   9   delay. AB 5 was enacted and signed by the Governor on September 18, 2019.
  10   Plaintiffs did not file suit or seek injunctive relief until December 17, 2019, three
  11   months after the challenged law was approved, and less than 15 days before AB 5’s
  12   effective date. Plaintiffs’ ex parte application does not address this lapse of time or
  13   otherwise explain the delay in seeking relief. (See generally ECF No. 27-1.)
  14        A party seeking a temporary restraining order must establish, in addition to
  15   likelihood of success on the merits, that it is “without fault in creating the crisis that
  16   requires ex parte relief.” Mission Power Eng’g Co., 883 F. Supp. at 492. “It is the
  17   creation of the crisis—the necessity for bypassing regular motion procedures—that
  18   requires explanation.” Id. at 493. Plaintiffs do not attempt to meet this
  19   requirement, and instead argue that they attempted to confer with Defendants’
  20   counsel on December 27, 2019, four days before they filed the motion. (ECF No.
  21   27 at 4.)2 Plaintiffs do not explain why they waited almost three months to file suit
  22   against AB 5, even though it was approved in September 2019, and subsequently
  23   did not file their application for a temporary restraining order until one day before
  24   the law goes into effect (that day being an intervening holiday).
  25
             2
                Although Plaintiffs’ motion asserts that they “first reach[ed] out on
  26   December 23,” (ECF No. 27 at 4), this is belied by their Notice to Counsel, which
       states that “on Monday, December 23, Plaintiffs’ counsel Caleb Trotter attempted
  27   to determine who in the Attorney General’s office was serving as counsel for
       Defendant in this case, but he was unable to so determine,” and subsequently left a
  28   voicemail for Defendants’ counsel on December 27. (ECF No. 27-2.)
                                                  8
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   1          Ex parte relief is an extreme remedy, and should be denied when the movant
   2   delays seeking preliminary relief. Giving Back Fund Inc., 2011 WL 13217774, at
   3   *4; Williford v. Ocwen Loan Servicing LLC, No. CV 09-06464, 2011 WL
   4   13187265, at *3 (C.D. Cal. July 15, 2011). This is particularly so when the ex parte
   5   application does not adequately explain “the necessity for bypassing regular motion
   6   procedures.” Mission Power Eng’g Co., 883 F. Supp. at 492. “Ex parte
   7   applications are not intended to save the day for parties who have failed to present
   8   requests when they should have.” In re Intermagnetics America, Inc., 101 B.R. at
   9   193.
  10          The same principle applies to preliminary injunction requests. As the Ninth
  11   Circuit has noted, a plaintiff’s “long delay before seeking a preliminary injunction
  12   implies a lack of urgency and irreparable harm.” Miller for and on behalf of
  13   N.L.R.B. v. Cal. Pac. Medic. Ctr., 991 F.2d 536, 544 (9th Cir. 1993) (citation
  14   omitted); see also Kobell v. Suburban Lines, Inc., 731 F.2d 1076, 1091 n.27 (3d
  15   Cir. 1984) (“[T]he district court may legitimately think it suspicious that the party
  16   who asks to preserve the status quo through interim injunctive relief has allowed
  17   the status quo to change through unexplained delay.”). Indeed, courts in this
  18   Circuit have found unexplained delays of three months in seeking injunctive relief
  19   supported a finding of lack of irreparable harm. First Franklin Fin. Corp. v.
  20   Franklin First Fin. Ltd., 356 F. Supp. 2d 1048, 1055 (N.D. Cal. 2005); see also
  21   Metromedia Broad. Corp. v. MGM/UA Entm’t Co, Inc., 611 F. Supp. 415, 427
  22   (C.D. Cal. 1985) (concluding that four month delay warranted denying injunctive
  23   relief); Kiva Health Brands LLC v. Kiva Brands Inc., 402 F. Supp.3d 877, 898-99
  24   (N.D. Cal. 2019) (same).
  25          Moreover, the State will suffer irreparable injury if this Court enjoins AB 5’s
  26   enforcement. “[A]ny time a State is enjoined by a court from effectuating statutes
  27   enacted by representatives of its people, it suffers a form of irreparable injury.”
  28   Maryland v. King, 567 U.S. 1301, ___, 133 S. Ct. 1, 3 (2012) (Roberts, C.J., in
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   1   chambers) (citation omitted); Coalition for Econ. Equity v. Wilson, 122 F.3d 718,
   2   719 (9th Cir. 1997) (“[I]t is clear that a state suffers irreparable injury whenever an
   3   enactment of its people or their representatives is enjoined.”). Plaintiffs contend
   4   that they need not make any further showing of irreparable injury because they have
   5   alleged a “colorable” First Amendment claim, (ECF No. 27-1), but as explained
   6   above, their claims lack merit.
   7        Lastly, the balance of equities tips against a temporary restraining order
   8   because Plaintiffs seek to change the status quo. The ABC test has been the “status
   9   quo” since AB 5 went into effect on January 1. Plaintiffs seek to alter this status
  10   quo. Golden Gate Restaurant Ass’n v. City & Cty. of San Francisco, 512 F.3d
  11   1112, 1116 (9th Cir. 2008). Plaintiffs have not established harm sufficient to
  12   outweigh the injury their requested injunction would inflict on the State.
  13        III.  THE PUBLIC INTEREST WEIGHTS AGAINST A TEMPORARY
            RESTRAINING ORDER.
  14
  15        Plaintiffs must also establish that the public interest warrants a temporary
  16   restraining order, but merely argue generally that protecting First Amendment
  17   rights is in the public interest. (ECF No. 27-1 at 21.) Plaintiffs’ perfunctory
  18   analysis fails because the public interest weighs heavily against enjoining state law.
  19        “In cases where the public interest is involved, the district court must also
  20   examine whether the public interest favors the plaintiff.” Fund for Animals v.
  21   Lujan, 962 F.2d 1391, 1400 (9th Cir. 1992); see also Weinberger v. Romero-
  22   Barcelo, 456 U.S. 305, 312 (1982) (“In exercising their sound discretion, courts of
  23   equity should pay particular regard for the public consequences in employing the
  24   extraordinary remedy of injunction.”). The public interest is involved when an
  25   injunction impacts individuals beyond the parties. Stormans, Inc. v. Selecky, 586
  26   F.3d 1109, 1139 (9th Cir. 2009).
  27        As noted above, courts hold that states suffer harm when enforcement of their
  28   laws is enjoined. Maryland v. King, 567 U.S. 1301, ___, 133 S. Ct. 1, 3 (2012)
                                                 10
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   1   (Roberts, C.J., in chambers) (citation omitted). Where, as here, “responsible public
   2   officials” have considered the public interest and enacted a statute, the public
   3   interest weighs against enjoining such legislation. Golden Gate Restaurant Ass’n,
   4   512 F.3d at 1126-27. “[I]t is in the public interest that federal courts of equity
   5   should exercise their discretionary power with proper regard for the rightful
   6   independence of state governments in carrying out their domestic policy.” Burford
   7   v. Sun Oil Co., 319 U.S. 315, 318 (1943).
   8                                      CONCLUSION
   9        For these reasons, the Court should deny Plaintiffs’ ex parte application for a
  10   temporary restraining order and request for an order to show cause for preliminary
  11   injunctive relief.
  12
       Dated: January 2, 2020                         Respectfully submitted,
  13
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  14                                                  Attorney General of California
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  19                                                  General Xavier Becerra, in his official
                                                      capacity
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                                 CERTIFICATE OF SERVICE
  Case Name:       American Society of Journalists      Case No.      2:19-cv-10645
                   and Authors, Inc. et al v. Xavier
                   Becerra

  I hereby certify that on January 2, 2020, I electronically filed the following documents with the
  Clerk of the Court by using the CM/ECF system:
           DEFENDANT’S OPPOSITION TO PLAINTIFFS’ APPLICATION FOR
           TEMPORARY RESTRAINING ORDER AND ORDER TO SHOW CAUSE WHY
           A PRELIMINARY INJUNCTION SHOULD NOT ISSUE
  I certify that all participants in the case are registered CM/ECF users and that service will be
  accomplished by the CM/ECF system.
  I declare under penalty of perjury under the laws of the State of California the foregoing is true
  and correct and that this declaration was executed on January 2, 2020, at San Francisco,
  California.


                  M. Mendiola                                       /s/ M. Mendiola
                   Declarant                                            Signature

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